                                  Case 23-10321-BLS                     Doc 1       Filed 03/14/23           Page 1 of 15


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RAC Asset Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA American Financial
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  6775 Lenox Center Ct.
                                  Suite 100
                                  Memphis, TN 38115
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Shelby                                                            Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.americancarcenter.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 23-10321-BLS                 Doc 1         Filed 03/14/23              Page 2 of 15
Debtor    RAC Asset Holdings, LLC                                                                       Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             4411

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
     A debtor who is a “small                Chapter 9
     business debtor” must check             Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.   Were prior bankruptcy                  No
     cases filed by or against
                                            Yes
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
                                            Yes
    business partner or an
    affiliate of the debtor?


     List all cases. If more than 1,
     attach a separate list                       Debtor     See Schedule 1                                                  Relationship


                                                  District                                 When                              Case number, if known

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 23-10321-BLS                     Doc 1       Filed 03/14/23            Page 3 of 15
Debtor   RAC Asset Holdings, LLC                                                                 Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than 100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 23-10321-BLS                   Doc 1        Filed 03/14/23             Page 4 of 15
Debtor   RAC Asset Holdings, LLC                                                                   Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      03/14/2023
                                                  MM / DD / YYYY


                             X   /s/ Noah Hogan                                                           Noah Hogan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Signatory




18. Signature of attorney    X   /s/ Joseph M. Mulvihill                                                   Date 03/14/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joseph M. Mulvihill
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      jmulvihill@ycst.com

                                 6061 DE
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                         Case 23-10321-BLS          Doc 1     Filed 03/14/23     Page 5 of 15




                                                       Schedule 1

                         Pending Bankruptcy Cases Filed by the Debtor and Its Affiliate

                  On the date hereof, each of the affiliated entities listed below (including the debtor in this

         chapter 7 case) filed a voluntary petition for relief under title 11 of the United States Code in the

         United States Bankruptcy Court for the District of Delaware.


             Entity Name                                 Federal Employer Identification Number (EIN)
             RAC Asset Holdings, LLC                     XX-XXXXXXX

             RAC Dealership, LLC                         XX-XXXXXXX

             RAC Intermediate Holdings, LLC              XX-XXXXXXX

             RAC King, LLC                               XX-XXXXXXX

             RAC Servicer, LLC                           XX-XXXXXXX

             RAC Investment Holdings, LLC                XX-XXXXXXX




29770150.1
                       Case 23-10321-BLS         Doc 1     Filed 03/14/23    Page 6 of 15




                                           WRITTEN CONSENT
                                                OF THE
                                             SOLE MEMBER
                                                  OF
                                        RAC ASSET HOLDINGS, LLC

                                                 March 13, 2023

                  The undersigned, being the sole member of RAC Asset Holdings, LLC, a Delaware limited
         liability company (“RAC Asset”), hereby consents to and adopts the following resolutions
         pursuant to and in accordance with the Limited Liability Company Agreement of RAC Asset,
         dated as of March 23, 2016, as of the date set forth below:

                      WHEREAS, RAC Intermediate Holdings, LLC, a Delaware limited liability
                company (“RAC Intermediate”), is the sole member of RAC Asset;

                        WHEREAS, RAC Intermediate has reviewed and considered the financial
                and operational condition of RAC Asset, and RAC Asset’s business on the date
                hereof, including the historical performance of RAC Asset, the assets of RAC Asset,
                the present and future liabilities of RAC Asset, the market for RAC Asset’s products,
                services, and assets, and the credit market conditions;

                       WHEREAS, RAC Intermediate has received, reviewed, and considered the
                recommendations of RAC Asset’s management, legal, financial, and restructuring
                advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
                under the provisions of chapter 7 of title 11 of the United States Code (the
                “Bankruptcy Code”); and

                        WHEREAS, RAC Intermediate has determined that it is in the best interests
                of RAC Asset and RAC Asset’s stakeholders, members, creditors, and other
                interested parties to commence a case under the provisions of chapter 7 of the
                Bankruptcy Code.

                       NOW, THEREFORE, BE IT:

                Commencement and Prosecution of Bankruptcy Case

                         RESOLVED, that, in the judgment of RAC Intermediate, it is desirable and
                in the best interests of RAC Asset, RAC Asset’s stakeholders, the creditors of RAC
                Asset, and other interested parties of RAC Asset that a voluntary petition (a
                “Petition”) be filed with the United States Bankruptcy Court for the District of
                Delaware (the “Bankruptcy Court”) by RAC Asset, thereby commencing a case (the
                “Bankruptcy Case”) under the provisions of chapter 7 of the Bankruptcy Code; and
                it is further

                        RESOLVED, that, Noah Hogan (the “Authorized Person”) be, and hereby
                is, authorized, directed, and empowered, on behalf of RAC Asset, to execute,
30155363.3
                     Case 23-10321-BLS          Doc 1     Filed 03/14/23      Page 7 of 15




             acknowledge, deliver, and verify RAC Asset’s Petition and to cause the same to be
             filed with the Bankruptcy Court at such time as the Authorized Person may
             determine; and it is further

                     RESOLVED, that the Authorized Person be, and hereby is, authorized,
             directed, and empowered on behalf of RAC Asset, to execute, acknowledge, deliver,
             verify, and file any and all pleadings, petitions, schedules, statements of affairs, lists
             and other papers and to take any and all related actions that the Authorized Person
             may deem necessary or proper in connection with the filing of the Petition and
             commencement and prosecution of the Bankruptcy Case, including attending the
             meeting of creditors pursuant to section 341 of the Bankruptcy Code on behalf of the
             Company; and it is further

                      RESOLVED, that the Authorized Person be, and hereby is, authorized,
             directed, and empowered from time to time in the name and on behalf of RAC Asset,
             to perform the obligations of RAC Asset under the Bankruptcy Code, with all such
             actions to be performed in such manner, and all such certificates, instruments,
             guaranties, notices, and documents to be executed and delivered in such form, as the
             Authorized Person performing or executing the same shall approve, and the
             performance or execution thereof by the Authorized Person shall be conclusive
             evidence of the approval thereof by the Authorized Person and by RAC Asset; and
             it is further

             Retention of Professionals

                     RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
             (“Young Conaway”) be, and hereby is, authorized, directed, and empowered to
             represent RAC Asset as bankruptcy counsel to represent and assist RAC Asset in
             carrying out its duties under the Bankruptcy Code, and to take any and all actions to
             advance RAC Asset’s rights, including the preparation of pleadings and filings in its
             Bankruptcy Case; and in connection therewith, the Authorized Person be, and hereby
             is, authorized, directed, and empowered, on behalf of and in the name of RAC Asset,
             to execute appropriate retention agreements, pay appropriate retainers prior to and
             immediately upon the filing of the Bankruptcy Case; and it is further

             General Resolutions

                     RESOLVED, that the execution and delivery by the Authorized Person on
             behalf of RAC Asset of such documents as may be required or as such Authorized
             Person may determine to be necessary, appropriate, or desirable to carry out the
             intent and purpose of the foregoing resolutions or to obtain the relief sought thereby,
             including, without limitation, the execution and delivery of any consents,
             resolutions, petitions, schedules, lists, declarations, affidavits, and other papers or
             documents, with all such actions to be taken in such manner, and all such petitions,
             schedules, lists, declarations, affidavits, and other papers or documents to be
             executed and delivered in such form as the Authorized Person shall approve, are

30155363.3
                    Case 23-10321-BLS         Doc 1    Filed 03/14/23     Page 8 of 15




             hereby authorized, the taking or execution thereof by the Authorized Person being
             conclusive evidence of the approval thereof by the Authorized Person; and it is
             further

                      RESOLVED, that all actions heretofore taken, and all agreements,
             instruments, reports and documents executed, delivered or filed through the date
             hereof, by any officer of RAC Asset in, for and on behalf of RAC Asset, in
             connection with the matters described in or contemplated by the foregoing
             resolutions, are hereby approved, adopted, ratified and confirmed in all respects as
             the acts and deeds of RAC Asset as of the date such action or actions were taken;
             and it is further

                    RESOLVED, that facsimile, .pdf copies, or other electronic forms of
             signatures to this consent shall be deemed to be originals and may be relied on to
             the same extent as the originals.




30155363.3
Case 23-10321-BLS   Doc 1   Filed 03/14/23   Page 9 of 15
                         Case 23-10321-BLS             Doc 1     Filed 03/14/23        Page 10 of 15




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 7

             RAC Investment Holdings, LLC,                           Case No. 23-_____ (____)

                                    Debtor.


             In re:                                                  Chapter 7

             RAC King, LLC,                                          Case No. 23-_____ (____)

                                    Debtor.


             In re:                                                  Chapter 7

             RAC Dealership, LLC,                                    Case No. 23-_____ (____)

                                    Debtor.


             In re:                                                  Chapter 7

             RAC Intermediate Holdings, LLC,                         Case No. 23-_____ (____)

                                    Debtor.


             In re:                                                  Chapter 7

             RAC Servicer, LLC,                                      Case No. 23-_____ (____)

                                    Debtor.


             In re:                                                  Chapter 7

             RAC Asset Holdings, LLC,                                Case No. 23-_____ (____)

                                    Debtor.1




         1
                   The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal taxpayer
         identification number are: RAC Investment Holdings, LLC (N/A) RAC Asset Holdings, LLC (8701); RAC
         Dealership, LLC (3862); RAC Intermediate Holdings, LLC (4792); RAC Servicer, LLC (3735); and RAC King, LLC
         (6605). The Debtors’ corporate headquarters is located at 6775 Lenox Center Ct., Suite 100, Memphis, TN 38115.
29751356.2
                         Case 23-10321-BLS       Doc 1    Filed 03/14/23     Page 11 of 15




                     CONSOLIDATED CORPORATE OWNERSHIP STATEMENT AND
                     LIST OF EQUITY INTEREST HOLDERS PURSUANT TO FED. R.
                              BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

         Procedure (the “Bankruptcy Rules”), the above-captioned debtors and debtors in possession (each,

         a “Debtor,” and collectively, the “Debtors”) hereby state as follows:

                1.       Debtor RAC Investment Holdings, LLC (“RAC Investment”), whose address is

         6775 Lenox Center Ct., Suite 100, Memphis, TN 38115, is 70% owned by non-debtor RAC

         Investor, LLC, 20% owned by non-debtor American Car Center, LLC, and 10% owned by non-

         debtor American Financial, Inc.

                2.       Debtor RAC King, LLC (“RAC King”), whose address is 6775 Lenox Center Ct.,

         Suite 100, Memphis, TN 38115, is 100% owned by Debtor RAC Investment.

                3.       Debtor RAC Dealership, LLC d/b/a American Car Center, whose address is 6775

         Lenox Center Ct., Suite 100, Memphis, TN 38115, is 100% owned by Debtor RAC King.

                4.       Debtor RAC Intermediate Holdings, LLC (“RAC Intermediate”), whose address is

         6775 Lenox Center Ct., Suite 100, Memphis, TN 38115, is 100% owned by Debtor RAC King.

                5.       Debtor RAC Servicer, LLC (“RAC Servicer”), whose address is 6775 Lenox Center

         Ct., Suite 100, Memphis, TN 38115, is 100% owned by Debtor RAC Intermediate.

                6.       Debtor RAC Asset Holdings, LLC d/b/a American Financial, whose address is

         6775 Lenox Center Ct., Suite 100, Memphis, TN 38115, is 100% owned by Debtor RAC

         Intermediate.




29751356.2
                                                         2
                              Case 23-10321-BLS                   Doc 1        Filed 03/14/23           Page 12 of 15




Fill in this information to identify the case:

Debtor name         RAC Asset Holdings, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration    Corporate Ownership Statement Pursuant to Fed. R. Bankr. P. 1007 and
                                                                7001.1

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 14, 2023                  X /s/ Noah Hogan
                                                           Signature of individual signing on behalf of debtor

                                                            Noah Hogan
                                                            Printed name

                                                            Authorized Signatory
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 23-10321-BLS               Doc 1      Filed 03/14/23          Page 13 of 15




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 7

    RAC Investment Holdings, LLC,                           Case No. 23-_____ (____)

                             Debtor.


    In re:                                                  Chapter 7

    RAC King, LLC,                                          Case No. 23-_____ (____)

                             Debtor.


    In re:                                                  Chapter 7

    RAC Dealership, LLC,                                    Case No. 23-_____ (____)

                             Debtor.


    In re:                                                  Chapter 7

    RAC Intermediate Holdings, LLC,                         Case No. 23-_____ (____)

                             Debtor.


    In re:                                                  Chapter 7

    RAC Servicer, LLC,                                      Case No. 23-_____ (____)

                             Debtor.


    In re:                                                  Chapter 7

    RAC Asset Holdings, LLC,                                Case No. 23-_____ (____)

                             Debtor.1



1
          The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal taxpayer
identification number are: RAC Investment Holdings, LLC (N/A) RAC Asset Holdings, LLC (8701); RAC
Dealership, LLC (3862); RAC Intermediate Holdings, LLC (4792); RAC Servicer, LLC (3735); and RAC
King, LLC (6605). The Debtors’ corporate headquarters is located at 6775 Lenox Center Ct., Suite 100,
Memphis, TN 38115.
              Case 23-10321-BLS                   Doc 1        Filed 03/14/23             Page 14 of 15




       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,
Young Conaway Stargatt & Taylor, LLP (“YCST”), is counsel for the above-captioned
debtors (collectively, the “Debtors”) and that compensation paid to YCST within one year
before the filing of the petition in bankruptcy, or agreed to be paid to YCST, for services
rendered or to be rendered on behalf of the Debtors in contemplation of or in connection
with the bankruptcy cases is as follows:

For legal services, YCST has agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . $300,000.00

Prior to the filing of this statement YCST has received . . . . . . . . . . . . . . . . . $300,000.00

Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00

2.        The source of the compensation paid to YCST was Debtor RAC King, LLC.

3.     YCST has not agreed to share the above-disclosed compensation with any other
person, unless they are a partner, counsel, or associate of YCST.

4.     In return for the above-disclosed fee, YCST has agreed to pay the filing fees
required to commence these bankruptcy cases and has further agreed to render legal
services relating to these bankruptcy cases, including:

       a.      Analyzing the Debtors’ financial situation, and rendering advice to the
Debtors in determining whether to file bankruptcy petitions;

      b.      Preparing and filing voluntary petitions in bankruptcy and certain other
documents that may be required; and

       c.      Representing the Debtors at the meeting of creditors, and any adjourned
hearings thereof.

5.     By agreement with the Debtors, the above-disclosed fee does not include the
representation of the Debtors in adversary proceedings and other contested bankruptcy
matters, nor does it include any future non-bankruptcy representation.




                                                              2
          Case 23-10321-BLS       Doc 1    Filed 03/14/23    Page 15 of 15




                                 CERTIFICATION

       I hereby certify that the foregoing is a complete statement of any agreement or
arrangement for payment to YCST for representation of the Debtors in these bankruptcy
proceedings.


 Dated: March 14, 2023             YOUNG CONAWAY STARGATT & TAYLOR,
        Wilmington, Delaware       LLP

                                   /s/ Joseph M. Mulvihill
                                   Joseph M. Mulvihill (No. 6061)
                                   Jared W. Kochenash (No. 6557)
                                   1000 North King Street
                                   Rodney Square
                                   Wilmington, Delaware 19801
                                   Tel: (302) 571-6600
                                   Fax: (302) 571-1253
                                   Email: jmulvihill@ycst.com
                                           jkochenash@ycst.com

                                   Counsel to the Debtors




                                          3
